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 1                                   UNITED STATES DISTRICT COURT
 2                                 NORTHERN DISTRICT OF CALIFORNIA
 3                                                   )
     HOPE SOLO                                                    GZ
                                                     )   Case No: _______________
 4                                                   )
                                     Plaintiff(s),   )   APPLICATION FOR
 5                                                   )   ADMISSION OF ATTORNEY
             v.
                                                     )   PRO HAC VICE
 6   UNITED STATES SOCCER                            )   (CIVIL LOCAL RULE 11-3)
     FEDERATION                                      )
 7                                   Defendant(s).   )
                                                     )
 8
         I, 7LEVMPII / 7QIRXIO                   , an active member in good standing of the bar of
 9    Illinois                     , hereby respectfully apply for admission to practice pro hac vice in the
10   Northern District of California representing: United States Soccer Federation              in the
                                                                Chantelle C. Egan
     above-entitled action. My local co-counsel in this case is __________________________________,     an
11   attorney who is a member of the bar of this Court in good standing and who maintains an office
12   within the State of California.                                              SBN 257938
       MY ADDRESS OF RECORD:                               LOCAL CO-COUNSEL’S ADDRESS OF RECORD:
13    Seyfarth Shaw LLP, 233 S. Wacker Drive,             Seyfarth Shaw LLP, 560 Mission Street,
      Suite 8000, Chicago, IL 60606                       Suite 3100, San Francisco, CA 94105
14
       MY TELEPHONE # OF RECORD:                           LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD:
15                                               
       MY EMAIL ADDRESS OF RECORD:                         LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD:
16    WWQIRXIO$WI]JEVXLGSQ                               GIKER$WI]JEVXLGSQ
        I am an active member in good standing of a United States Court or of the highest court of
17   another State or the District of Columbia, as indicated above; my bar number is:       .
18       A true and correct copy of a certificate of good standing or equivalent official document from said
     bar is attached to this application.
19      I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially the
     Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local Rules.
20
         I declare under penalty of perjury that the foregoing is true and correct.
21
      Dated: 11/15/2019                                             7LEVMPII / 7QIRXIO
22                                                                               APPLICANT

23
                                     ORDER GRANTING APPLICATION
24                             FOR ADMISSION OF ATTORNEY PRO HAC VICE
25       IT IS HEREBY ORDERED THAT the application of 7LEVMPII / 7QIRXIO                         is granted,
     subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney must indicate
26   appearance pro hac vice. Service of papers upon, and communication ation with, loc
                                                                                    local co-counsel
27   designated in the application will constitute notice to the party.

28   Dated: November 19, 2019
                                                           UNITED STATES
                                                                    ATES DISTRICT JUDGE

     PRO HAC VICE APPLICATION & ORDER                                                                  October 201
